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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 JUDGE R. BROOKE JACKSON


Civil Action:             20-cv-01485-RBJ                    Date: November 18, 2021
Courtroom Deputy:         Julie Dynes                        Court Reporter: Sarah Mitchell

                Parties                                                  Counsel

KEITH CLINGMAN                                                    Christopher Anderson
                                                                      Penn Dodson
                          Plaintiff

v.

DRIVE COFFEE LLC                                                      Jennifer Cohen
DRIVE COFFEE INC                                                        Lisa Nobles
ALEX GRAPPO
                Defendants



                                      COURTROOM MINUTES


JURY TRIAL DAY FOUR

Court in Session: 11:08 a.m.

Jury present.

Verdict reached. Verdict found in favor of the defendants as to the New York labor law claims
and breach of contract claim and for the plaintiff as to the unjust enrichment claim with a
damages award of $40,280, see verdict for details.

Jury excused.

Court in Recess: 11:16 p.m.            Trial concluded.             Total time in Court: 00:08

Clerk’s note: Exhibits returned to counsel or a representative of counsel. Counsel to retain
              exhibits until such time as all need for the exhibits has terminated and the time to
              appeal has expired or all appellate proceedings have been terminated plus sixty
              days.
